EXHIBIT A




   Appx1
Department of Homeland Security                                                     I-20, Certificate of Eligibility for Nonimmigrant Student Status
U.S. Immigration and Customs Enforcement                                            OMB NO. 1653-0038


SEVIS ID: N0013638381 (F-1)                                                         NAME: Ravi Teja Tiyyagura
EMPLOYMENT AUTHORIZATIONS


CHANGE OF STATUS/CAP-GAP EXTENSION


AUTHORIZED REDUCED COURSE LOAD


CURRENT SESSION DATES
CURRENT SESSION START DATE                                                         CURRENT SESSION END DATE
05 MARCH 2018                                                                      31 MAY 2018

TRAVEL ENDORSEMENT
This page, when properly endorsed, may be used for re-entry of the student to attend the same school after a temporary absence from the United States. Each
endorsement is valid for one year.
Designated School Official          TITLE                             SIGNATURE                               DATE ISSUED               PLACE ISSUED
                                                                      X

                                                                      X

                                                                      X

                                                                      X




                                                                            Appx3
ICE Form I-20 (3/31/2018)                                                                                                                            Page 2 of 3
Department of Homeland Security                                                       I-20, Certificate of Eligibility for Nonimmigrant Student Status
U.S. Immigration and Customs Enforcement                                              OMB NO. 1653-0038

INSTRUCTIONS TO STUDENTS                                                              NOTICE OF ADDRESS. When you arrive in the United States, you must
                                                                                      report your U.S. address to your DSO. If you move, you must notify your DSO
                                                                                      of your new address within 10 days of the change of address. The DSO will
STUDENT ATTESTATION. You should read everything on this page                          update SEVIS with your new address.
carefully. Be sure that you understand the terms and conditions concerning your
admission and stay in the United States as a nonimmigrant student before signing
the student attestation on page 1 of the Form I-20 A-B. The law provides severe       REENTRY. F-1 students may leave the United States and return within a
penalties for knowingly and willfully falsifying or concealing a material fact, or    period of five months.To return, you must have: 1) a valid passport; 2) a valid F-
using any false document in the submission of this form.                              1 student visa (unless you are exempt from visa requirements); and 3) your Form
                                                                                      I-20, page 2, properly endorsed for reentry by your DSO. If you have been out of
                                                                                      the United States for more than five months, contact your DSO
FORM I-20. The Form I-20 (this form) is the primary document to show that
you have been admitted to school in the United States and that you are
authorized to apply for admission to the United States in F-1 class of admission.     AUTHORIZATION TO RELEASE INFORMATION BY SCHOOL. DHS
You must have your Form I-20 with you at all times. If you lose your Form I-20,       requires your school to provide DHS with your name, country of birth, current
you must request a new one from your designated school official (DSO) at the          address, immigration status, and certain other information on a regular basis or
school named on your Form I-20.                                                       upon request. Your signature on the Form I-20 authorizes the named school to
                                                                                      release such information from your records.
VISA APPLICATION. You must give this Form I-20 to the U.S. consular
officer at the time you apply for a visa (unless you are exempt from visa             PENALTY. To maintain your nonimmigrant student status, you must: 1)
requirements). If you have a Form I-20 from more than one school, be sure to          remain a full-time student at your authorized school; 2) engage only in
present the Form I-20 for the school you plan to attend. Your visa will include       authorized employment; and 3) keep your passport valid. Failure to comply with
the name of that school, and you must attend that school upon entering the            these regulations will result in the loss of your student status and subject you to
United States. You must also provide evidence of support for tuition and fees         deportation.
and living expenses while you are in the United States.                               INSTRUCTIONS TO SCHOOLS

ADMISSION. When you enter the United States, you must present the
                                                                                       Failure to comply with 8 CFR 214.3(k) and 8 CFR 214.4 when issuing Forms I-
following documents to the officer at the port of entry: 1) a Form I-20; 2) a valid
                                                                                      20 will subject you and your school to criminal prosecution. If you issue this
F-1 visa(unless you are exempt from visa requirements); 3) a valid passport; and
                                                                                      form improperly, provide false information, or fail to submit required reports,
4) evidence of support for tuition and fees and living expenses while you are in
                                                                                      DHS may withdraw its certification of your school for attendance by
the United States. The agent should return all documents to you before you leave
                                                                                      nonimmigrant students.
the inspection area.

                                                                                      ISSUANCE OF FORM I-20. DSOs may issue a Form I-20 for any
REPORT TO SCHOOL NAMED ON YOUR FORM I-20 AND VISA.
                                                                                      nonimmigrant your school has accepted for a full course of study if that person:
Upon your first entry to the United States, you must report to the DSO at the
                                                                                      1) plans to apply to enter the United States in F-1 status; 2) is in the United
school named on your Form I-20 and your F-1 visa (unless you are exempt from
                                                                                      States as an F-1 nonimmigrant and plans to transfer to your school; or 3) is in the
visa requirements). If you decide to attend another school before you enter the
                                                                                      United States and will apply to change nonimmigrant status to F-1. DSOs may
United States, you must present a Form I-20 from the new school to a U.S.
                                                                                      also issue the Form I-20 to the spouse or child (under the age of 21) of an F-1
consular officer for a new F-1 visa that names the new school. Failure to enroll
                                                                                      student to use to enter or remain in the United States as an F-2 dependent. DSOs
in the school, by the program start date on your Form I-20 may result in the loss
                                                                                      must sign where indicated at the bottom of page 1 of the Form I-20 to attest that
of your student status and subject you to deportation.
                                                                                      the form is completed and issued in accordance with regulations.

EMPLOYMENT. Unlawful employment in the United States is a reason for
                                                                                      ENDORSEMENT OF PAGE 2 FOR REENTRY. If there have been no
terminating your F-1 status and deporting you from the United States. You may
                                                                                      substantive changes in information, DSOs may endorse page 2 of the Form I-20
be employed on campus at your school. You may be employed off-campus in
                                                                                      for the student and/or the F-2 dependents to reenter the United States. If there
curricular practical training (CPT) if you have written permission from your
                                                                                      have been substantive changes, the DSO should issue and sign a new Form I-20
DSO. You may apply to U.S. Citizenship and Immigration Services (USCIS) for
                                                                                      that includes those changes.
off-campus employment authorization in three circumstances: 1) employment
with an international organization; 2) severe and unexpected economic hardship;
and 3) optional practical training (OPT) related to your degree. You must have        RECORDKEEPING. DHS may request information concerning the student's
written authorization from USCIS before you begin work. Contact your DSO for          immigration status for various reasons. DSOs should retain all evidence of
details. Your spouse or child (F-2 classification) may not work in the United         academic ability and financial resources on which admission was based, until
States                                                                                SEVIS shows the student's record completed or terminated.

PERIOD OF STAY. You may remain in the United States while taking a full               AUTHORITY FOR COLLECTING INFORMATION. Authority for
course of study or during authorized employment after your program. F-1 status        collecting the information on this and related student forms is contained in 8
ends and you are required to leave the United States on the earliest of the           U.S.C. 1101 and 1184. The Department of State and DHS use this information to
following dates: 1) the program end date on your Form I-20 plus 60 days; 2) the       determine eligibility for the benefits requested.The law provides severe penalties
end date of your OPT plus 60 days; or 3) the termination of your program for          for knowingly and willfully falsifying or concealing a material fact, or using any
any other reason. Contact your DSO for details.                                       false document in the submission of this form.

EXTENSION OF PROGRAM. If you cannot complete the education program                    REPORTING BURDEN. U.S. Immigration and Customs Enforcement collects
by the program end date on page 1 of your Form I-20, you should contact your          this information as part of its agency mission under the Department of Homeland
DSO at least 15 days before the program end date to request an extension.             Security. The estimated average time to review the instructions, search existing
                                                                                      data sources, gather and maintain the needed data, and complete and review the
                                                                                      collection of information is 30 minutes (.50 hours) per response. An agency may
SCHOOL TRANSFER. To transfer schools, first notify the DSO at the school
                                                                                      not conduct or sponsor, and a person is not required to respond to an information
you are attending of your plan to transfer, then obtain a Form I-20 from the DSO
                                                                                      collection unless a form displays a currently valid OMB Control number. Send
at the school you plan to attend. Return the Form I-20 for the new school to the
                                                                                      comments regarding this burden estimate or any other aspect of this collection of
DSO at that school within 15 days after beginning attendance at the new school.
                                                                                      information, including suggestions for reducing this burden, to: Office of the
The DSO will then report the transfer to the Department of Homeland Security
                                                                                      Chief Information Officer/Forms Management Branch, U.S. Immigration and
(DHS). You must enroll in the new school at the next session start date. The
                                                                                      Customs Enforcement. 801 I Street NW Stop 5800, Washington, DC 20536-
DSO at the new school must update your registration in SEVIS.
                                                                                      5800. Do not send the form to this address.




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ICE Form I-20 (3/31/2018)                                                                                                                              Page 3 of 3
EXHIBIT B




  Appx5
Appx6
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Appx31
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Operation Paper Chase is a HSI Detroit investigation targeting Student and Exchange
Visitor Program (SEVP) schools, Designated School Officials (DSO), private
immigration services businesses and other entities who fraudulently utilize the SEVP to
endanger national security, commit visa fraud, smuggle and harbor illegal aliens for
profit, launder money, and commit other violations of federal law. The investigation is
also intended to identify aliens who are exploiting the student visa process as well as to
obtain clarity as to the level and method of student and employment based benefit fraud
within the HSI Detroit AOR. UCAs are in the process of establishing a UC school in
order to attract and identify F-1 non-immigrant student visa violators who are seeking to
maintain their current visa status without having to attend class or maintain a full course
of study. The school will exist within SEVIS as a means to backstop its identity as well
as serve as a way for a UCA, posing as a “Designated School Official” (DSO), to accept
and transfer UCAs and CIs purporting to be students to and from academic institutions
suspected to be involved in fraudulently sponsoring F-1 non-immigrant students and
other criminal violations. This UC school will serve as a facility in which recorded UC
meetings will occur. The UCA DSO will attempt to, through a variety of means, identify
aliens seeking F-1 status solely for the purpose of obtaining legal immigration status
and work authorization through fraudulent means. The UCA DSO will engage in
dialogue with the subject seeking to become a student and explain that this school is
not a legitimate school and only for those seeking a student visa without requiring them
to attend any classes. Those interested in legitimately attending classes as prescribed
by their visa classification will be referred to a local school which has been vetted by
HSI and SEVP. On May 1, 2016, the lease of the commercial space housing the UC
storefront began. The property is in the process of being fully equipped and furnished.
Upon completion, it will house numerous offices and a large multi-purpose instructional
environment.

On May 13, 2016, The Accrediting Commission of Career Schools and Colleges, a U.S.
Department of Education chartered national accreditor, agreed to nationally accredit the
HSI Detroit UC School. This will allow the UC School to have a website operating with
an .edu domain. During the next reporting period, it is anticipated that the UC storefront
will be completed and the school’s website brought online. This will allow the first phase
of UC operations, the identifying and recruitment of foreign student targets, to
commence. Efforts to facilitate this will include a targeted marketing and advertising
campaign and the use of sources of information and confidential informants to introduce
UCAs acting as school officials. The initial criminal violations include 18 U.S.C. § 1546 -
Visa/immigration fraud, 18 U.S.C. § 1343 - Wire fraud, 18 U.S.C. § 1546 - Fraud and
misuse of visas, permits, and other documents and 18 U.S.C. § 1956 - money
laundering.

Statutory Exemption(s):
    1. Use of appropriated funds to [purchase or] lease property, buildings, and other facilities in the
        United States, the District of Columbia, and U.S. territories and possessions
    2. Use appropriated funds to establish or to acquire proprietary corporations or business entities as
        part of the undercover operation, and to operate them on a commercial basis.
    3 Deposit appropriated funds and proceeds in financial institutions.




                                                Appx92
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Appx103
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Appx176
                UNDERCOVER OPERATION
               REAUTHORIZATION REQUEST


Date Submitted                  : January 9, 2019

Date of URC                     : February 20, 2019

Date of Inception               : February 11, 2002

Name of Operation               :

Program Code                    :

Programmatic Area(s)            :
                                    Counter Terrorism/Criminal Exploitation




Office Location                 : HSI Detroit




Operation Admin Overseer        :

Operation Group Supervisor      :

Operation Program Manager       :

ULC                             :


Undercover Operative(s)             S       S li     3 3 226 0569 UCOS 07/06

                                    S P               3 3 226 0722 UCOS 05/ 2
                                    S           F      3 3 226 0558 UCOS 09/09



CUFFS Administrator


Last UOU Field Review           : 08/18



         Op               FOUO - Law Enforcement Sensitive Page 1 of 19
                                        Appx177
U.S. Attorney’s Office(s)         : Eastern District of Michigan



CUC OPLA Counsel                  :

Offsite Location

Internet Web Site                 : Yes. www.universityoffarmington.edu CTCEU,




Special Interest Aliens           :

DEA Designated ASAC               :

Open Cases




                                  : Counter Terrorism/Criminal Exploitation
                                                       - OPERATION PAPER
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                                    Southern Michigan,

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         Op                 FOUO - Law Enforcement Sensitive Page 2 of 20

                                        Appx178
SOU Coordination                 :


Statutory Exemptions Requested:

  1. Use appropriated funds to purchase/lease property, buildings, and other facilities
     in the United States, the District of Columbia and U.S. territories and possessions
  2. Establish or acquire proprietary corporations or business entities as part of the
     undercover operation, and to operate them on a commercial basis.
  3. Deposit appropriated funds and/or proceeds in banks and other financial
     institutions.
  4. Use proceeds from the operation to offset necessary and reasonable expenses
     incurred in the operation.

SENSITIVE CIRCUMSTANCES

DHS




ICE

      Investigations and/or operations that continue                              the
      first undercover activity.




      The undercover operation will require the use of proceeds generated by the
      undercover operation to offset necessary and reasonable expenses incurred in
      the operation of the proprietary business.
      The undercover operation will require the use of the statutory exemptions under
      19 U.S.C. § 2081 and/or 8 U.S.C. § 1363a.
         Op               FOUO - Law Enforcement Sensitive Page 3 of 19

                                      Appx179
UNDERCOVER ACTIVITY SUMMARY:




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The Counter Terrorism/Criminal Exploitation programmatic area allows HSI Detroit to
more efficiently identify student visa violators, recruiters and school administrators who
unlawfully exploit the Student Exchange Visitor Information System (SEVIS) system, as
well as identify similar institutions that provide a comparable service through the
exploitation and circumvention of SEVIS.




           Op                           FOUO - Law Enforcement Sensitive Page 4 of 19

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U DERCOVER CTIVITY SUMM RY F                                             Ti l 2            l          P

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                     Op                             FOUO - Law Enforcement Sensitive Page 5 of 19

                                                               Appx181
COUNTER TERRORISM/CRIMINAL EXPLOITATION

                   OPERATION PAPER CHASE
                      , Eastern District of Michigan,

Operation Paper Chase is an HSI Detroit National Security Group (NSG) led investigation
         Op              FOUO - Law Enforcement Sensitive Page 6 of 19

                                     Appx182
targeting Student and Exchange Visitor Program (SEVP) schools, Designated School Officials
(DSO) and both legitimate and fraudulent institutions, immigration services businesses,
employment agencies/consultancies, and other entities who fraudulently utilize the SEVP to
endanger national security, commit visa fraud, smuggle and harbor illegal aliens for profit,
launder money, and commit other violations of federal law. The primary UC investigative
vehicle supporting the operation is an undercover (UC) storefront operating as a State of
Michigan licensed and nationally accredited private university. The storefront is in a
commercial office building in the greater metropolitan Detroit area and is staffed fulltime by HSI
Detroit UCAs. The school also maintains a website and a significant and active social media
presence. The identification of students seeking to solely maintain their immigration status and
obtain work authorization is being conducted using a variety of methods: the analysis of SEVP
student data is used to identify patterns of enrollment consistent with past fraud, UCAs visiting
online forums frequented by foreign students, and targeted marketing on known social media
platforms that engage in criminal activity. These initial methods also ensure that the students
are already present in the United States and predisposed to the criminal activity so that the
operation will not directly facilitate the entry of aliens. However, there remains the likelihood
that operations will have a foreign nexus, including phone calls, emails, financial transactions,
and travel. This undercover activity will be closely coordinated with the appropriate U.S. law
enforcement representatives in the countries or regions where they occur. The covert efforts
have resulted in numerous inquiries from students seeking to attend the undercover school
without attending classes, while receiving immediate work authorization in violation of
numerous regulations governing the student visa programs and federal laws. All students who
are enrolled at the school will be fully vetted, including criminal history checks and for JTTF
interest before any benefit is provided. If a student does appear to have immediate or national
security concern, that nonimmigrant will be compartmentalized away from the investigation
using administrative or criminal apprehension. Additionally, HSI Detroit expects to further
identify and seize criminal assets and eliminate national security threats by dismantling
criminal organizations that allow non-immigrants to obtain immigration status fraudulently and
operate within the U.S. with impunity. At the start of the operation and in conjunction with the
U.S. Attorney’s Office for the Eastern District of Michigan, a series of operational phases were
developed during the anticipated three years of operations including: Phase 1, enrollment of
students to create a critical mass, Phase 2, targeting of criminal violators and using the
operation to support other UC activities, and Phase 3 which includes the prosecution of
criminal targets and administrative immigration charges against those aliens who engaged in
fraud. In January 2018, Phase 1 was deemed complete. Current enrollment exceeds 600
students. Enrollment has closed, and the school has stopped accepting students. Phase 2 is
complete and HSI Detroit has identified eight brokers who recruited students to the university.
The brokers have received fees both from the students and the university and one broker has
recruited nearly 400 students. To date, UCAs have paid the brokers approximately $120,000
in Payment of Evidence (POE) as part of the conspiracy. In addition, one broker has received
nearly $180,000 in Money Laundering (MLD) points after taking a portion of the student’s
tuition fees as payment. Currently, HSI Detroit is planning for the implementation of Phase 3
which will include a nationwide enforcement action scheduled for January 30, 2019. The
operation will involve the federal criminal arrest of 8 to 10 targets and the administrative arrest
of approximately 750 aliens located in 38 states. This number includes both current students
and those who have been terminated. Aliens who have transferred to another school or who
have a received H1B status will be evaluated on a case by case basis by each local office in
          Op               FOUO - Law Enforcement Sensitive Page 7 of 19

                                        Appx183
consultation with OPLA to determine if they are amenable to removal proceedings.

In March 2019, agents will work in an undercover capacity with students who continue to
provide information on other student recruiter targets and other suspect universities involved in
alleged criminal activities. Agents have also identified an alleged marriage fraud ring and will
continue to communicate with identified targets in an undercover capacity using undercover
assets. The initial criminal violations include 18 U.S.C. § 371, Conspiracy, 18 U.S.C. § 1546,
Fraud and misuse of visas, permits, and other documents, 18 U.S.C. § 1343, Fraud by wire,
radio, or television, and 18 U.S.C. § 1956, Laundering of monetary instruments.

No foreign undercover activity is anticipated at this time.




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                  Op                               FOUO - Law Enforcement Sensitive Page 8 of 19

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                       Op                            FOUO - Law Enforcement Sensitive Page 9 of 19

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                      Op Sand Dollar FOUO - Law Enforcement Sensitive Page 11 of 19

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             Op                                    FOUO - Law Enforcement Sensitive Page 12 of 19

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                                                   All appropriate SOPs and HSI Directives are followed.




                 .




                              Op                                                FOUO - Law Enforcement Sensitive Page 13 of 19

                                                                                                                Appx189
Op   FOUO - Law Enforcement Sensitive Page 14 of 19

                Appx190
   BUDGET M                               20 9                                                    3    20 9

   E         i                                i               i               R                 $ 023 000 D             i    l                                l
   f          l                                           i


OCC 21 28                    F        i               T               l               $20 000         OCC 26 03     V       i l &B                F   l           $7 000

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OCC 21 36          ll CI T                        l                                   $8 000          OCC 26 09     Offi      S              li                   $4 000
                  S        l                                                          $11 000         OCC 26 12      i       ll                                   $3 000

OCC 22   T               i             fT i                                                                         S                l                            $27 000

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OCC 22 03               il        i       i           S               i               $500



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                                                       r
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                                                                                                                    S            l                                $ 63 000
OCC 25 84         O          i        D                S              i               $6 000




              Op                                                  FOUO - Law Enforcement Sensitive Page 15 of 19

                                                                                               Appx191
                                            .
Op   FOUO - Law Enforcement Sensitive Page 16 of 19

                Appx192
3 T         CI                           i                                                           f                i                i           i        T      CI ill               i
                          l                          ll                                                           i                i                             f   i              i       i
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  7 2 0/23/20                       7                $8 000*                         POI             20           7 02009 5                                      SI D           i
  7 3 2/20/20                       7                P l                             POI             20           7 2 5 650                                      SI D           i
  7 0 /05/20                        8                $6 000                          POI             20           7 2 8 620                                      SI D           i
  7 5 03/22/20                      8                $ 0 000                         POI             20           803 3 6 0                                      SI D           i
  7 6 05/2 /20                      8                $ 2 500




            Op                                       FOUO - Law Enforcement Sensitive Page 17 of 19

                                                                                 Appx193
Op   FOUO - Law Enforcement Sensitive Page 18 of 19

                Appx194
EXHIBIT C




  Appx195
Appx196
Appx197
EXHIBIT D




  Appx198
Department of Homeland Security                                                     I-20, Certificate of Eligibility for Nonimmigrant Student Status
U.S. Immigration and Customs Enforcement                                            OMB NO. 1653-0038


SEVIS ID: N0013638381 (F-1)                                                         NAME: Ravi Teja Tiyyagura
EMPLOYMENT AUTHORIZATIONS
TYPE                                                    FULL/PART-TIME           STATUS                   START DATE                    END DATE
CPT                                                     FULL TIME                APPROVED                 02 MARCH 2018                 28 FEBRUARY 2019


EMPLOYER INFORMATION
TYPE                                                                               AUTHORIZATION DATES
CPT                                                                                02 MARCH 2018 - 28 FEBRUARY 2019
EMPLOYER NAME                                          START DATE                  END DATE                    CITY & STATE
Sira Consulting Inc                                    02 MARCH 2018               28 FEBRUARY 2019            Houston, TX


CHANGE OF STATUS/CAP-GAP EXTENSION


AUTHORIZED REDUCED COURSE LOAD


CURRENT SESSION DATES
CURRENT SESSION START DATE                                                         CURRENT SESSION END DATE
05 MARCH 2018                                                                      31 MAY 2018

TRAVEL ENDORSEMENT
This page, when properly endorsed, may be used for re-entry of the student to attend the same school after a temporary absence from the United States. Each
endorsement is valid for one year.
Designated School Official          TITLE                             SIGNATURE                               DATE ISSUED               PLACE ISSUED

                                                                      X

                                                                      X

                                                                      X

                                                                      X




                                                                          Appx201
ICE Form I-20 (3/31/2018)                                                                                                                            Page 2 of 3
Department of Homeland Security                                                       I-20, Certificate of Eligibility for Nonimmigrant Student Status
U.S. Immigration and Customs Enforcement                                              OMB NO. 1653-0038

INSTRUCTIONS TO STUDENTS                                                              NOTICE OF ADDRESS. When you arrive in the United States, you must
                                                                                      report your U.S. address to your DSO. If you move, you must notify your DSO
                                                                                      of your new address within 10 days of the change of address. The DSO will
STUDENT ATTESTATION. You should read everything on this page                          update SEVIS with your new address.
carefully. Be sure that you understand the terms and conditions concerning your
admission and stay in the United States as a nonimmigrant student before signing
the student attestation on page 1 of the Form I-20 A-B. The law provides severe       REENTRY. F-1 students may leave the United States and return within a
penalties for knowingly and willfully falsifying or concealing a material fact, or    period of five months.To return, you must have: 1) a valid passport; 2) a valid F-
using any false document in the submission of this form.                              1 student visa (unless you are exempt from visa requirements); and 3) your Form
                                                                                      I-20, page 2, properly endorsed for reentry by your DSO. If you have been out of
                                                                                      the United States for more than five months, contact your DSO
FORM I-20. The Form I-20 (this form) is the primary document to show that
you have been admitted to school in the United States and that you are
authorized to apply for admission to the United States in F-1 class of admission.     AUTHORIZATION TO RELEASE INFORMATION BY SCHOOL. DHS
You must have your Form I-20 with you at all times. If you lose your Form I-20,       requires your school to provide DHS with your name, country of birth, current
you must request a new one from your designated school official (DSO) at the          address, immigration status, and certain other information on a regular basis or
school named on your Form I-20.                                                       upon request. Your signature on the Form I-20 authorizes the named school to
                                                                                      release such information from your records.
VISA APPLICATION. You must give this Form I-20 to the U.S. consular
officer at the time you apply for a visa (unless you are exempt from visa             PENALTY. To maintain your nonimmigrant student status, you must: 1)
requirements). If you have a Form I-20 from more than one school, be sure to          remain a full-time student at your authorized school; 2) engage only in
present the Form I-20 for the school you plan to attend. Your visa will include       authorized employment; and 3) keep your passport valid. Failure to comply with
the name of that school, and you must attend that school upon entering the            these regulations will result in the loss of your student status and subject you to
United States. You must also provide evidence of support for tuition and fees         deportation.
and living expenses while you are in the United States.                               INSTRUCTIONS TO SCHOOLS

ADMISSION. When you enter the United States, you must present the
                                                                                       Failure to comply with 8 CFR 214.3(k) and 8 CFR 214.4 when issuing Forms I-
following documents to the officer at the port of entry: 1) a Form I-20; 2) a valid
                                                                                      20 will subject you and your school to criminal prosecution. If you issue this
F-1 visa(unless you are exempt from visa requirements); 3) a valid passport; and
                                                                                      form improperly, provide false information, or fail to submit required reports,
4) evidence of support for tuition and fees and living expenses while you are in
                                                                                      DHS may withdraw its certification of your school for attendance by
the United States. The agent should return all documents to you before you leave
                                                                                      nonimmigrant students.
the inspection area.

                                                                                      ISSUANCE OF FORM I-20. DSOs may issue a Form I-20 for any
REPORT TO SCHOOL NAMED ON YOUR FORM I-20 AND VISA.
                                                                                      nonimmigrant your school has accepted for a full course of study if that person:
Upon your first entry to the United States, you must report to the DSO at the
                                                                                      1) plans to apply to enter the United States in F-1 status; 2) is in the United
school named on your Form I-20 and your F-1 visa (unless you are exempt from
                                                                                      States as an F-1 nonimmigrant and plans to transfer to your school; or 3) is in the
visa requirements). If you decide to attend another school before you enter the
                                                                                      United States and will apply to change nonimmigrant status to F-1. DSOs may
United States, you must present a Form I-20 from the new school to a U.S.
                                                                                      also issue the Form I-20 to the spouse or child (under the age of 21) of an F-1
consular officer for a new F-1 visa that names the new school. Failure to enroll
                                                                                      student to use to enter or remain in the United States as an F-2 dependent. DSOs
in the school, by the program start date on your Form I-20 may result in the loss
                                                                                      must sign where indicated at the bottom of page 1 of the Form I-20 to attest that
of your student status and subject you to deportation.
                                                                                      the form is completed and issued in accordance with regulations.

EMPLOYMENT. Unlawful employment in the United States is a reason for
                                                                                      ENDORSEMENT OF PAGE 2 FOR REENTRY. If there have been no
terminating your F-1 status and deporting you from the United States. You may
                                                                                      substantive changes in information, DSOs may endorse page 2 of the Form I-20
be employed on campus at your school. You may be employed off-campus in
                                                                                      for the student and/or the F-2 dependents to reenter the United States. If there
curricular practical training (CPT) if you have written permission from your
                                                                                      have been substantive changes, the DSO should issue and sign a new Form I-20
DSO. You may apply to U.S. Citizenship and Immigration Services (USCIS) for
                                                                                      that includes those changes.
off-campus employment authorization in three circumstances: 1) employment
with an international organization; 2) severe and unexpected economic hardship;
and 3) optional practical training (OPT) related to your degree. You must have        RECORDKEEPING. DHS may request information concerning the student's
written authorization from USCIS before you begin work. Contact your DSO for          immigration status for various reasons. DSOs should retain all evidence of
details. Your spouse or child (F-2 classification) may not work in the United         academic ability and financial resources on which admission was based, until
States                                                                                SEVIS shows the student's record completed or terminated.

PERIOD OF STAY. You may remain in the United States while taking a full               AUTHORITY FOR COLLECTING INFORMATION. Authority for
course of study or during authorized employment after your program. F-1 status        collecting the information on this and related student forms is contained in 8
ends and you are required to leave the United States on the earliest of the           U.S.C. 1101 and 1184. The Department of State and DHS use this information to
following dates: 1) the program end date on your Form I-20 plus 60 days; 2) the       determine eligibility for the benefits requested.The law provides severe penalties
end date of your OPT plus 60 days; or 3) the termination of your program for          for knowingly and willfully falsifying or concealing a material fact, or using any
any other reason. Contact your DSO for details.                                       false document in the submission of this form.

EXTENSION OF PROGRAM. If you cannot complete the education program                    REPORTING BURDEN. U.S. Immigration and Customs Enforcement collects
by the program end date on page 1 of your Form I-20, you should contact your          this information as part of its agency mission under the Department of Homeland
DSO at least 15 days before the program end date to request an extension.             Security. The estimated average time to review the instructions, search existing
                                                                                      data sources, gather and maintain the needed data, and complete and review the
                                                                                      collection of information is 30 minutes (.50 hours) per response. An agency may
SCHOOL TRANSFER. To transfer schools, first notify the DSO at the school
                                                                                      not conduct or sponsor, and a person is not required to respond to an information
you are attending of your plan to transfer, then obtain a Form I-20 from the DSO
                                                                                      collection unless a form displays a currently valid OMB Control number. Send
at the school you plan to attend. Return the Form I-20 for the new school to the
                                                                                      comments regarding this burden estimate or any other aspect of this collection of
DSO at that school within 15 days after beginning attendance at the new school.
                                                                                      information, including suggestions for reducing this burden, to: Office of the
The DSO will then report the transfer to the Department of Homeland Security
                                                                                      Chief Information Officer/Forms Management Branch, U.S. Immigration and
(DHS). You must enroll in the new school at the next session start date. The
                                                                                      Customs Enforcement. 801 I Street NW Stop 5800, Washington, DC 20536-
DSO at the new school must update your registration in SEVIS.
                                                                                      5800. Do not send the form to this address.




                                                                            Appx202
ICE Form I-20 (3/31/2018)                                                                                                                              Page 3 of 3
EXHIBIT E




  Appx203
From:          Vinith errabelli
To:            carey.ferrante@universityoffarmington.edu
Cc:            raviteja reddy
Subject:       Raviteja Tiyyagura
Date:          Wednesday, March 21, 2018 12:25:18 PM


Hai Carey, Raviteja Tiyyagura didnt receive student id and CPT i20 hard copies, he paid
2500$, plz mail him tho his address which is on his file.

Thanks
VIn




                                                  Appx204
EXHIBIT F




  Appx205
Appx207
Appx208
  p
Appx209
  p
Appx210
  p
Appx211
  p
Appx212
  p
Appx213
  p
Appx214
  p
Appx215
  p
               EXHIBIT G
(Audio Recording Filed Under Separate Event
          In This Docket Entry)




                  Appx216
EXHIBIT H




  Appx217
          Appx218




Appx218
          Appx220




Appx220
          Appx222




Appx222
          Appx224




Appx224
EXHIBIT I




  Appx227
          Appx228




Appx228
          Appx229




Appx229
ADDITIONAL APPENDIX DOCUMENTS




            Appx230
From:               Amy E Norris
To:                 Oh, Meen-Geu (CIV)
Cc:                 Anna L Nathanson; Mamoun Mahayni; Charles Fraser
Subject:            Fwd: Ravi v. US, No. 20-1237C (Fed. Cl.)
Date:               Monday, November 30, 2020 10:33:05 AM
Attachments:        I180530328.pdf


See attached reply from Teja Ravi. Sorry for the late reply. His full legal name is Ravi Teja
Tiyyagura. Attached is an invoice from the University of Farmington for him. I hope this
helps!

We would be happy to amend the complaint to his full legal name, but I'm not sure if it's
necessary at this point in the litigation. Let me know if you think otherwise.

I hope you had a great Thanksgiving.

Best regards,

Amy Norris
Attorney at Law
Metropolitan Washington Law Consortium
Washington, DC
Telephone: (202) 830-1225
amy@mwlc.org

This message contains privileged and confidential information intended solely for the use of the individual(s) or
entity(s) named above. Any disclosure, distribution, copying or use of the information to, or by, others is strictly
prohibited. If you have received this message in error, please advise the sender by immediate reply and delete the
original message.

---------- Forwarded message ---------
From: teja ravi
Date: Mon, Nov 30, 2020 at 9:28 AM
Subject: Re: Ravi v. US, No. 20-1237C (Fed. Cl.)
To: Amy E Norris <norris.ae@gmail.com>
CC: Mamoun Mahayni <mxm1059@case.edu>

Hi Amy,

I'm sorry for delay. I went Out of Station.
My full legal name- Ravi Teja Tiyyagura

Please find the attached invoice of my Receipt.


Thanks & Regards,
Teja.




                                                     Appx231
Appx232
Appx232
Appx233
Appx234
Appx235
Appx236
Appx237
Appx238
Appx239
Appx240
Appx241
Appx242
Appx249
Appx249
Appx250
Request to Use Certified Undercover Operation     to Advance Case #

Page 4




                                        Appx253
Appx254
Appx255
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.1 Filed 01/15/19 Page 1 of 16




                                Appx257
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.2 Filed 01/15/19 Page 2 of 16




                                Appx258
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.3 Filed 01/15/19 Page 3 of 16




                                Appx259
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.4 Filed 01/15/19 Page 4 of 16




                                Appx260
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.5 Filed 01/15/19 Page 5 of 16




                                Appx261
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.6 Filed 01/15/19 Page 6 of 16




                                Appx262
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.7 Filed 01/15/19 Page 7 of 16




                                Appx263
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.8 Filed 01/15/19 Page 8 of 16




                                Appx264
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.9 Filed 01/15/19 Page 9 of 16




                                Appx265
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.10 Filed 01/15/19 Page 10 of 16




                                 Appx266
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.11 Filed 01/15/19 Page 11 of 16




                                 Appx267
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.12 Filed 01/15/19 Page 12 of 16




                                 Appx268
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.13 Filed 01/15/19 Page 13 of 16




                                 Appx269
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.14 Filed 01/15/19 Page 14 of 16




                                 Appx270
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.15 Filed 01/15/19 Page 15 of 16




                                 Appx271
Case 2:19-cr-20026-GAD-EAS ECF No. 1, PageID.16 Filed 01/15/19 Page 16 of 16




                                 Appx272
        Case 2:19-cr-20026-GAD-EAS ECF No. 119, PageID.799 Filed 09/12/19 Page 1 of 7


                                      UNITED STATES DISTRICT COURT
                                                   Eastern District Of Michigan

 UNITED STATES OF AMERICA                                          §      JUDGMENT IN A CRIMINAL CASE
                                                                   §
 v.                                                                §
                                                                   §      Case Number: 0645 2:19CR20026 (6)
 Avinash Thakkallapally                                            §      USM Number: 57215-039
                                                                   §      Edward A. Bajoka
                                                                   §      Defendant’s Attorney

THE DEFENDANT:
 ‫ ܈‬pleaded guilty to count(s)                                1 of the Indictment
       pleaded nolo contendere to count(s) which was
 ‫܆‬     accepted by the court
       was found guilty on count(s) after a plea of not
 ‫܆‬     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                           Offense Ended      Count
 18 U.S.C. § 371, Conspiracy to Commit Visa Fraud and Harbor Aliens for Profit                                 1/15/2019          1



The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ‫ ܆‬The defendant has been found not guilty on count(s)
 ‫ ܆‬Count(s) ‫ ܆‬is ‫ ܆‬are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  September 11, 2019
                                                                  Date of Imposition of Judgment




                                                                  Signature of Judge


                                                                  The Honorable Gershwin A. Drain
                                                                  United States District Judge
                                                                  Name and Title of Judge


                                                                  September 12, 2019
                                                                  Date




                                                             Appx273
        Case 2:19-cr-20026-GAD-EAS ECF No. 119, PageID.801 Filed 09/12/19 Page 3 of 7
 AO 245B (Rev. 09/18) Judgment in a Criminal Case                                                               Judgment -- Page 3 of 7

DEFENDANT:                 Avinash Thakkallapally
CASE NUMBER:               0645 2:19CR20026 (6)

                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of. None

                                             MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ‫ ܆‬The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.   ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ‫܆‬    You must participate in an approved program for domestic violence. (check if applicable)

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.




                                                            Appx275
        Case 2:19-cr-20026-GAD-EAS ECF No. 119, PageID.802 Filed 09/12/19 Page 4 of 7
 AO 245B (Rev. 09/18) Judgment in a Criminal Case                                                                  Judgment -- Page 4 of 7

DEFENDANT:                 Avinash Thakkallapally
CASE NUMBER:               0645 2:19CR20026 (6)

                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

 Defendant’s Signature                                                                             Date




                                                              Appx276
         Case 2:19-cr-20026-GAD-EAS ECF No. 119, PageID.803 Filed 09/12/19 Page 5 of 7
 AO 245B (Rev. 09/18) Judgment in a Criminal Case                                                                         Judgment -- Page 5 of 7

DEFENDANT:                   Avinash Thakkallapally
CASE NUMBER:                 0645 2:19CR20026 (6)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                     Assessment      JVTA Assessment*                         Fine                                  Restitution
 TOTALS                                   $100.00         Not Applicable                    Waived                                Not applicable

 ‫ ܆‬The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO245C) will be entered after
       such determination.
 ‫܆‬     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ‫ ܆‬Restitution amount ordered pursuant to plea agreement $
 ‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ‫܆‬     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ‫ ܆‬the interest requirement is waived for the          ‫ ܆‬fine                            ‫ ܆‬restitution
       ‫ ܆‬the interest requirement for the                       ‫ ܆‬fine                                ‫ ܆‬restitution is modified as follows:
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




                                                                  Appx277
         Case 2:19-cr-20026-GAD-EAS ECF No. 119, PageID.804 Filed 09/12/19 Page 6 of 7
 AO 245B (Rev. 09/18) Judgment in a Criminal Case                                                                              Judgment -- Page 6 of 7

DEFENDANT:                    Avinash Thakkallapally
CASE NUMBER:                  0645 2:19CR20026 (6)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ‫ ܈‬Lump sum payments of $100.00 is due immediately, balance due
        ‫ ܆‬not later than                                        , or

        ‫ ܆‬in accordance                    ‫܆‬      C,         ‫܆‬         D,       ‫܆‬       E, or       ‫܆‬       F below; or

 B      ‫ ܆‬Payment to begin immediately (may be combined with                    ‫܆‬       C,          ‫܆‬       D, or             ‫܆‬       F below); or

 C      ‫ ܆‬Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
              (e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

 D      ‫ ܆‬Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
              (e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

 E      ‫ ܆‬Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
              or

 F      ‫ ܆‬Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ‫ ܆‬Joint and Several
        Restitution is joint and several with the following co-defendants and/or related cases, in the amount specified below:

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.

        ‫ ܆‬Defendant shall receive credit on «dft_his_her» restitution obligation for recovery from other defendants who contributed to
        the same loss that gave rise to defendant's restitution obligation.
 ‫܆‬      The defendant shall pay the cost of prosecution.
 ‫ ܆‬The defendant shall pay the following court cost(s):
 ‫ ܆‬The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




                                                                       Appx278
        Case 2:19-cr-20026-GAD-EAS ECF No. 119, PageID.805 Filed 09/12/19 Page 7 of 7
 AO 245B (Rev. 09/18) Judgment in a Criminal Case                                            Judgment -- Page 7 of 7

DEFENDANT:                 Avinash Thakkallapally
CASE NUMBER:               0645 2:19CR20026 (6)

                                   ADDITIONAL FORFEITED PROPERTY

Pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 18, United States Code, Section 982(a)(6),
Title 28, United States Code, Section 2461(c), and Federal Rule of Criminal Procedure 32.2, defendant’s
interest in the following is forfeited to the United States:

    x   A forfeiture money judgment is entered against the defendant in favor of the United States in the amount
        of Twelve Thousand One Hundred Sixty-Six Dollars and Forty-Three Cents ($12,166.43).

The Preliminary Order of Forfeiture entered by the Court on 9/10/19, ECF No. 116, is incorporated herein by
reference.




                                                    Appx279
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.736 Filed 09/05/19 Page 1 of 22




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  United States of America,                  No. 19-20026-6

               Plaintiff,                    Hon. Gershwin A. Drain
  v.
                                             Offense:
  D-6 Avinash Thakkallapally,                18 U.S.C. § 371
                                             Conspiracy to commit visa fraud and
               Defendant.                    harbor aliens for profit

                                             Maximum Penalty: Up to 5 years

                                             Maximum Fine: $250,000

                                             Supervised Release:
                                             Up to 3 years


             GOVERNMENT’S SENTENCING MEMORANDUM

       Defendant Avinash Thakkallapally is a foreign citizen who abused the student

visa program so that he could remain and work in the United States illegally.

Moreover, he and his co-conspirators recruited at least 600 foreign students to do the

same. Thakkallapally is criminally responsible for the recruitment of over 100

students, 54 of which he personally recruited, and in return for his recruitment

efforts, he received at least $15,000 in profits. Accordingly, the United States of

America respectfully recommends that the Court impose a sentence between 37–46




                                     Appx280
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.737 Filed 09/05/19 Page 2 of 22




months, the sentencing guideline range calculated by the United States. Such a

sentence is necessary in light of the seriousness of the offense, the need to punish

Thakkallapally, deter Thakkallapally and others from committing the same

misconduct, Thakkallapally’s personal characteristics and to avoid unwarranted

sentencing disparities.

  I.   BACKGROUND

       Defendant Avinash Thakkallapally is a citizen of India who first traveled to

the United States in 2015 on a temporary student visa known as an F-1 visa. (PSR ¶

9). Before he could obtain his F-1 visa, Thakkallapally applied to study in the

United States at a university through the Student and Exchange Visitor Program

(“SEVP”), which is overseen by the Department of Homeland Security. (Id. at ¶ 10).

Once accepted by a university—in this case Harrisburg University—the school

issued a “Certificate of Eligibility for Nonimmigrant Student Status,” better known

as a Form I-20. (Id. at ¶ 10–11).

       Thakkallapally’s Form I-20 permitted him to enter the United States, (PSR

¶ 12), which he first did in 2015. (Post Arrest Interview). While in the United States,

he used his Form I-20 for identification and proof of legal and academic status in the

United States, and it also allowed for him to travel abroad and return to the United

States. (Id. at ¶ 12). For his Form I-20 to remain valid, Thakkallapally knew that he

needed to maintain his status as a full-time student “making progress toward

                                          2


                                      Appx281
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.738 Filed 09/05/19 Page 3 of 22




completion of [his] field of study,” whether at his original school or any school to

which he later transferred. (Id. at ¶ 13).

      Thakkallapally’s visa and Form I-20 also permitted him to participate in

curricular practical training (“CPT”), which allowed him to find gainful employment

as long as he continued to attend classes and make academic progress toward his

degree. (PSR ¶ 15).

      From February 2017 through January 2019, undercover agents from

Homeland Security Investigations (“HSI”) posed as employees of the University of

Farmington (“the University”), located in Farmington Hills, Michigan. (PSR at ¶ 16-

17). The University had no instructors, no classes, and no educational activities.

Rather, it was a fictitious university used by foreign citizens as a “pay to stay”

scheme. Id. Under the “pay to stay” scheme, foreign citizens would enroll with the

University as “students,” but they would take no classes nor attend any educational

programs. Instead, they would pay tuition so that the University would issue them

Form I-20’s that identified them as students making progress toward a degree, and

if they desired, they could also seek gainful employment through the CPT program.

Id.

      On July 17, 2017, Thakkallapally contacted the University to discuss enrolling

in the University without attending classes in order to fraudulently maintain his

immigration status. Thakkallapally was told the arrangement was illegal and he

                                             3


                                       Appx282
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.739 Filed 09/05/19 Page 4 of 22




should use discretion when talking about the arrangement with others. Below is an

excerpt of that conversation (AT = Avinash Thakkallapally, UC = Undercover

Agent):

            AT: Actually my OPT going to expire next month, I would like to
                do second masters or CPT University of Farmington.

                  ****

            UC: So, what have heard about us....What have you heard about our
                program here?

            AT: I didn’t heard about any program just heard about a college.

            UC: So my question is are you planning on moving to Michigan?

            AT: No, I’d like to (unintelligible) online only.

            UC: You know we don’t have just online courses.

            UC: Let me ask you another question. Are you….. looking to
                actually go to classes or are you just looking to just maintain
                your status?

            AT: I am just looking to maintain my status.

            UC: So you don’t want to go to a class or anything like that?

            AT: Exactly.

            UC: Ok. Listen I can help you out but obviously, you know… this
                arrangement is not legal, you know?

            AT: Yeah.

            UC: You understand that? I mean I could bring you in with no
                classes…and give you Day 1 CPT but obviously it’s not legal

                                        4


                                    Appx283
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.740 Filed 09/05/19 Page 5 of 22




                   so it has to stay between us. You know?

             AT: Yeah. I not tell to anybody.

             UC: Are you comfortable with that arrangement?

             AT: Yeah.


      The following day, Thakkallapally called the University to discuss his

application process and the enrollment period. He also asked the undercover agent

about whether he could refer students to the University of Farmington in exchange

for money:

             AT: So, do you accept any referrals?

             UC: What do you mean….oh, you want to refer people?

             AT: Yeah, there are lot of friends coming up.

             UC: Sure, why not. Just tell them that you sent them.

             AT: How much is the referral?

             UC: How many people can you bring in?

             AT: Uh…Five to ten.

             UC: Five to ten?

             AT: Yeah.

             UC: Um….I don’t know, what are you thinking?

             ****
             AT: Right now there are two people, so that is the reason I am
                  telling….
                                        5


                                    Appx284
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.741 Filed 09/05/19 Page 6 of 22




                 UC: Well, we can talk about it, let me think about it.


During the conversation Thakkallapally proposed receiving $400 per student and

mentioned that he had previously received $500 per student from Harrisburg

University for referring students 1. (7/18/17 Recorded phone call). The undercover

agent told Thakkallapally that he wanted to think about Thakkallapally’s proposal

and would discuss it with him in the future. In a September 28, 2017 phone

conversation, Thakkallapally and the undercover agent agreed to a referral fee of

$500 per student:

                 AT: How about the referral?

                 UC: What about the referral?

                 AT: Ali, actually, you tell me that.

                 UC: Right, right. What are you thinking?

                 ****

                 UC: Do you have a number in your head?

                 AT: Yeah.

                 UC: What’s your number?

                 AT: I tell you. In Harrisburg university, in each and every
                     university, in NPU…. for one student its $500.

1
 While recruiting foreign students for a legitimate university is not illegal, doing so is a violation of
Thakkallapally’s F1 student visa which only permits him to work under a practical training program such as Optical
Practical Training (OPT) or Curricular Practical Training (CPT).
                                                        6


                                                  Appx285
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.742 Filed 09/05/19 Page 7 of 22




             UC: Ok, I can do $500.


       In the weeks and months that followed, Thakkallapally continued his

recruitment efforts. There were days when Thakkallapally called the University

repeatedly to request various actions be taken on behalf of his students. In addition,

Thakkallapally updated the agent on his recruiting efforts, asked for additional

students to be admitted and inquired about payment for recruiting students. Below

are examples of Thakkallapally’s exhaustive involvement in the affairs of his

students:

10/20/17     “I sent                photo and address       ….did you send student
             ID?”

10/30/17     “One guy,                …I am going to send photo and offer letter.

11/6/17      “One more thing , my cousin needs acceptance ASAP…can I send it
             to you, can you give acceptance by today…is it ok if I get 15-20
             people for January”

11/13/17     “Actually, one more thing…that money…Thanksgiving is coming and
             shopping IPhone XP….that money….anything arranged?”


      On November 27, 2017, Thakkallapally and the undercover agent agreed to a

sum of $5000 for recruiting 14 students and further agreed that the money would be

wired by the undercover agent to Thakkallapally’s bank account.               Below,

Thakkallapally, under the alias “Vineth errabelli” emailed the University with his


                                          7


                                     Appx286
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.743 Filed 09/05/19 Page 8 of 22




banking information:

                          From: Vinith errabelli
                          Sent: Wednesday, December 13, 2017 1:04 PM
                          To: l M l
                          Subject: Wire transfer

                          Hi l plz find the details

                          Chase bank
                          Account number
                          Routing number:


Four months later, undercover agents wired an additional $10,000 to

Thakkallapally’s Wells Fargo bank account, which represented payment for

recruiting students to the University.

      In total, this conspiracy recruited over 600 foreign students to the University

of Farmington. (R.1: Indictment, 1). Thakkallapally personally recruited at least

fifty four (54) students (Exhibit 1), and he also received cash payments of at least

$15,000 from the University (Id. at ¶ 19).

      Thakkallapally has pled guilty to conspiring to commit visa fraud (18 U.S.C.

§ 1546(a)) and harboring aliens for profit (8 U.S.C. § 1324) in violation of 18 U.S.C.

§ 371—without the benefit of a Rule 11 agreement, although the government did

offer one. (PSR, ¶¶ 1, 4). Thakkallapally’s co-conspirators are the foreign citizen

“students” he recruited and his co-defendants. (Id. at ¶¶ 19, 21).

      The maximum sentence for his offense is not more than five years’

imprisonment, a maximum fine of $250,000, and an applicable term of supervised
                                            8


                                         Appx287
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.744 Filed 09/05/19 Page 9 of 22




up to three years. (PSR ¶¶¶ 53, 56, 61).

 II.   SENTENCING GUIDELINES CALCULATIONS AND § 3553(a)
       FACTORS

       Thakkallapally’s Sentencing Guidelines

       The government believes that Thakkallapally’s total offense level is 21 and

his criminal history category is I, which results in a guideline range of 37–46

months. However, the government expects that the United States Probation

Department will ultimately calculate the range at 24-30 months. The difference

between Probation’s guidelines and the government’s guidelines are two-fold. First,

the Probation Department only assessed 6 points under USSG § 2L1.1(b)(2)(B) as

the defendant harbored between 25-99 unlawful aliens. Thakkallapally should be

assessed 9 points as the conspiracy harbored over 600 unlawful aliens and he is

responsible for acts of other conspirators that are reasonably foreseeable and within

the scope of jointly undertaken criminal activity. Nonetheless, while the United

States believes Thakkallapally’s conduct is broad enough to include to conduct of

his co-conspirators, the government will leave the scoring of this enhancement in

the Court’s discretion.

       Second, the Probation Department only assessed 2 points under USSG §

3B1.1(c) finding that Thakkallapally was an organizer or leader. Because

Thakkallapally managed and supervised the recruitment process of at least 93


                                           9


                                     Appx288
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.745 Filed 09/05/19 Page 10 of 22




 unlawful aliens, Thakkallapally should be assessed 3 points under USSG § 3B1.1(b).

       To qualify for a 3-point enhancement under USSG § 3B1.1(b), Thakkallapally

 must have a managed or supervised one or more of the participants and the criminal

 activity must have involved five or more participants or was otherwise extensive.

 USSG § 3B1.1(b); cmt. 2. “The burden of proving when the enhancement is

 appropriate is low: “‘[T]here need only be evidence to support a finding that the

 defendant was a manager or supervisor of at least one other participant in the

 criminal activity....’ ”” United States v. Beard, 394 Fed. Appx. 200, 205 (6th Cir.

 2010) (quoting United States v. Henley, 360 F.3d 509, 517 (6th Cir. 2004)). Control

 of subordinates is not necessary; Thakkallapally need only supervise or manage

 them. United States v. Johnson, 736 Fed. Appx. 568, 572 (6th Cir. 2018).

       In determining the defendant’s organizational role, and distinguishing

 between a leader and manager, Application Note 4 of § 3B1.1 identifies a number

 of non-exhaustive factors the Court can consider, including “the exercise of decision

 making authority, the nature of participation in the commission of the offense, the

 recruitment of accomplices, the claimed right to a larger share of the fruits of the

 crime, the degree of participation in planning or organizing the offense, the nature

 and scope of the illegal activity, and the degree of control and authority exercised

 over others.” See also United States v. Lalonde, 509 F. 3d 750, 765-66 (6th Cir.

 2007).

                                          10


                                      Appx289
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.746 Filed 09/05/19 Page 11 of 22




       Here, Thakkallapally’s 54 recruited students are undoubtedly participants in

 the criminal activity. Beyond recruiting these students to the University of

 Farmington in exchange for at least $15,000, Thakkallapally managed all of their

 paperwork, submitted the student’s applications, received their acceptance letters,

 arranged their “start” date, requested deferrals on student’s behalf, and facilitated

 the acceptance of fee receipts/SEVIS transfers.

 Among many others, the emails below illustrate Thakkallapally’s managerial role:

                    From: Vinith errabelli <vinni.rao9999@gmail.com>
                    Sent: Thursday, September 27, 2018 1:31 PM
                    To: studentaccounts@universityoffarmington.edu
                    Subject: Re: Outstanding Tuition Balance - Termination of Status


                    Hello       Gandam married to a US citizen, we can terminate his status
                    right away.



                    From: Vinith errabelli
                    To: l M l
                    Subject: May intake last 4 applications
                    Date: Monday, April 23, 2018 9:07:28 AM
                    Attachments:                 y        UF Intl Application.pdf
                                                                  .pdf
                                                         .pdf
                                                    pdf

                    Hi    , please find the attached last 4 applications for may intake, i will
                    send the passport and visa copies to      y




                    Thanks
                    Vin
                                              11


                                         Appx290
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.747 Filed 09/05/19 Page 12 of 22




                    From: Vinith errabelli
                    To:
                    Subject:
                    Date: Monday, March 5, 2018 1:45:10 PM
                    Attachments: S         Emp Letter.pdf

                    Hi Ali, please find the CPT employer letter and send me his i20.

                    Thanks
                    Vin


       The 3553(a) Factors

       In determining an appropriate sentence, the Court should use the Sentencing

 Guidelines as a “starting point and the initial benchmark.” United States v. Lalonde,

 509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United States, 552 U.S. 38, 49

 (2007)). Indeed, a sentence within the guidelines range carries a “rebuttable

 presumption of reasonableness.” United States v. Buchanan, 449 F.3d 731, 734 (6th

 Cir. 2006). This is so because the guidelines “represent nearly two decades of

 considered judgment about the range of sentences appropriate for certain offenses.”

 (Id. at 736) (Sutton, J., concurring). In particular, the guidelines aggregate the

 “sentencing experiences of individual judges, the administrative expertise of the

 [Sentencing] Commission, and the input of Congress….” Id.

       Beyond the Guidelines, the Court should consider all of the factors set forth

 in 18 U.S.C. § 3553(a). Gall, 552 U.S. at 49–50. The § 3553(a) factors include:

       (1) the nature and circumstances of the offense and the history and
                                            12


                                        Appx291
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.748 Filed 09/05/19 Page 13 of 22




       characteristics of the defendant;
       (2) the need for the sentence imposed—
              (A) to reflect the seriousness of the offense, to promote respect
              for the law, and to provide just punishment for the offense;
              (B) to afford adequate deterrence to criminal conduct;
              (C) to protect the public from further crimes of the defendant;
              and
              (D) to provide the defendant with needed educational or
              vocational training, medical care, or other correctional
              treatment in the most effective manner; [and]
                                       ***
       (6) the need to avoid unwanted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct….

 18 U.S.C. § 3553(a).

       Thakkallapally’s conduct in this case demonstrates why a sentence within the

 guidelines is appropriate. Thakkallapally may suggest his role in committing fraud

 and harboring illegal aliens for profit stemmed from his attempt to help foreign

 national students obtain an education—including for some students who sought to

 transfer from schools that were in danger of losing their accreditation. 2 But his and

 his students’ aims were not so noble.

       Their true intent could not be clearer. While “enrolled” at the University, one



 2
   These schools cater to “students” who want to exploit our foreign student
 education program. While they are the exception rather than the rule, unfortunately
 they do exist. Some of the “pay to stay” schools located around the United States
 that have been exposed over the years are: Prodee University; Neo-America
 Language School; Walter Jay M.D. Institute; the American College of Forensic
 Studies; Likie Fashion and Technology College; Tri-Valley University; Herguan
 University; the University of Northern Virginia; and the American College of
 Commerce and Technology.
                                          13


                                      Appx292
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.749 Filed 09/05/19 Page 14 of 22




 hundred percent of the foreign citizen students never spent a single second in a

 classroom. If it were truly about obtaining an education, the University would not

 have been able to attract anyone, because it had no teachers, classes, or educational

 services. Instead, Thakkallapally and the foreign nationals he recruited wanted to

 commit a fraud upon the United States. At the outset, Thakkallapally informed his

 recruits there would be no classes and no education. The “students” willingly paid

 thousands of dollars to the undercover agents so that they could obtain fraudulent

 documents (Form I-20’s) that would allow them to illegally stay, re-enter, and work

 in the United States.

       But Thakkallapally’s conduct was much more offensive than that of his

 recruits. Once he knew exactly what the University was—a fraud—he, not the

 University, raised the idea of recruiting other students who would be willing to

 commit fraud. He did so in order to make money. Specifically, in exchange for

 finding, enlisting, and managing all of the paperwork for others to illegally remain

 in the United States, he received more than $15,000 in profits. Hence, his illegal

 arrangement with the University proved to be quite profitable for him.

       Therefore, Thakkallapally’s conduct necessitates a guidelines sentence, and

 there are no legitimate reasons to vary below that range. (PSR ¶ 67.). Nonetheless,

 under our immigration laws, Thakkallapally must be sentenced to at least 12 months

 in custody to permanently bar him from re-entering the United States. Such a bar is

                                          14


                                      Appx293
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.750 Filed 09/05/19 Page 15 of 22




 certainly fitting in this case, since Thakkallapally intentionally exploited our student

 visa system for his own financial gain. He did so with the full knowledge that most

 of his recruits wanted to illegally enter the United States job market while unlawfully

 remaining in the United States. As a direct result of his actions, his recruited

 students—who were illegally working in the United States—deprived otherwise

 qualified individuals of employment or training opportunities.

       A.     Sentencing Reform Act factors

              1.     Seriousness of the offense

       Thakkallapally’s decision to conspire to harbor aliens and commit visa fraud

 is a serious offense, as indicated by Congress’s decision to authorize up to five years

 in prison for the offense. See 18 U.S.C. § 371; (PSR, ¶ 57). Specifically in this case,

 the F-1 student visa program is designed to promote and encourage foreign students

 to study at American institutions. (PSR, ¶ 9–16). Once they finish their course of

 study, the students must leave within 15 days. (Id. at ¶ 13). The idea is that the

 students return to their native countries to share their new knowledge and skills for

 the betterment of themselves and their country. Accordingly, the F-1 student visa

 program is not a naturalization program—i.e., it is not intended to be a path to

 obtaining U.S. citizenship.

       If he receives a guidelines sentence, Thakkallapally will be deported once he

 serves his sentence, and he will be permanently barred from returning to the United

                                           15


                                       Appx294
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.751 Filed 09/05/19 Page 16 of 22




 States in the future. And even without a permanent bar from a guidelines sentence,

 Thakkallapally will likely be deported, and there is no way to know whether he will

 return to the United States. Yet his likely deportation should not trigger a variance

 windfall.

        The Sixth Circuit has been clear that 18 U.S.C. § 3553 requires that the

 defendant’s sentence reflect the seriousness of the offense, promote respect for the

 law, and provide just punishment. United States v. Musgrave, 761 F.3d 602, 608 (6th

 Cir. 2014). Deportation is not part of the defendant’s sentence. Many things that

 happen to a defendant following his conviction and sentence are “impermissible

 facts” in determining a sentence. Id. Things such as losing a professional license,

 paying legal fees, suffering embarrassment or a damaged reputation, or as is the case

 here, being deported, are not part of this Court’s sentence. “None of these things

 are [the defendant’s] sentence. Nor are they consequences of his sentence,” and a

 district court should therefore sentence the defendant “without considering these

 factors.” Id.

        Furthermore, Thakkallapally and his co-conspirators (his recruited students)

 ignored the purpose of the F-1 student visa program. In fact, Thakkallapally has

 remained in the United States since 2014, totaling over five years in the United States

 before he was arrested on January 31, 2019. (Id. at ¶ 4). During his time with the

 University, Thakkallapally illegally obtained employment and made approximately

                                           16


                                       Appx295
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.752 Filed 09/05/19 Page 17 of 22




 $70,000 a year. (Id. at ¶ 51). Those jobs could have gone to U.S. citizens or to other

 foreign students who were lawfully in the United States on valid visas.

               2.    Deterrence, protection of the public, and nature and
                     circumstances of the offense

         As noted above, Thakkallapally will likely be deported, and thus the

 likelihood of him re-engaging this same criminal conduct is highly unlikely.

 However, the Court’s contemplation of §3553 factors regarding deterrence and

 protection of the public is not solely limited to whether the defendant is likely to be

 a recidivist. Rather, this Court is likewise required, in determining an appropriate

 sentence, to seek to deter others from committing such crimes and protect the public.

 This Court should do so in this instance. According to an SEVP summary issued by

 U.S. Immigration and Customs Enforcement in November 2016, 1.23 million

 foreign students were studying in the United States on student visas in 2016, and

 8697 schools were certified to enroll international students. 3 A within guideline

 sentence for Thakkallapally would invariably serve as a warning and act as

 deterrence to any of the other one million other foreign students that are currently

 studying on student visas in the United States who may contemplate engaging in

 similar such conduct.

         Additionally, this action and the related actions—19-cr-20024 and 19-cr-



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     https://www.ice.gov/doclib/sevis/pdf/byTheNumbersDec2016.pdf (p.2).
                                           17


                                       Appx296
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.753 Filed 09/05/19 Page 18 of 22




 20025—have garnered considerable media attention since the indictments were

 unsealed. Presumably, the sentences in this case and the related cases will also

 receive media focus. As a result, strong sentences against Thakkallapally and the

 other defendants would have a considerable chance of deterring other foreign

 students—and some schools—from abusing the F-1 student visa program. In

 addition, as indicated by the success Thakkallapally and the other defendants had in

 recruiting students to the University, their vast network of students and potential

 students, at the very least, could be deterred by a sentence with within the sentencing

 guidelines.

       In light of the above, a deterrent prison sentence between 37 and 46 months

 is appropriate.

               3.    Characteristics of the defendant

       Thakkallapally indicated he has a loving and supportive family in India. (PSR,

 ¶ 41-43). He further indicated that he suffers from chronic asthma and was

 previously hospitalized in India for the condition. (Id. at 46). He attended a Junior

 College university in India and pursued a Master’s degree from Northwestern

 Polytechnic University in computer science. (Id. at 49). Thus, he has received

 support, love, and opportunities that many defendants who appear before this Court

 have not, and yet he still chose to commit the instant offense. As a result,

 Thakkallapally’s personal characteristics counsel that a guideline sentence is

                                           18


                                       Appx297
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.754 Filed 09/05/19 Page 19 of 22




 appropriate.

                4.   Need to avoid sentencing disparities

       The Supreme Court reiterated in Booker that reducing sentencing disparities

 was Congress’s basis statutory goal in passing the Federal Sentencing Guidelines.

 United States v. Booker, 543 U.S. 220, 250, 264 (2005). Thus, calculating and

 analyzing the guidelines is the primary driver in avoiding unwanted sentencing

 disparities. Id. at 264 (“The district courts, while not bound to apply the Guidelines,

 must consult those Guidelines and take them into account when sentencing.”).

 Indeed, by correctly calculating and considering the Sentencing Guidelines, the

 Court automatically gives “significant weight and consideration to the need to avoid

 unwarranted disparities.” Gall v. United States, 552 U.S. 38, 54 (2007). A variance

 in this matter would result in unwanted sentencing disparities.

       Furthermore, a variance based on deportation would be contrary to the dictates

 of 18 U.S.C. § 3553 (2)(A) which requires that the defendant’s sentence reflect the

 seriousness of the offense (see above). By allowing the Court to consider deportation

 as grounds for a downward variance for illegally harboring aliens, it would

 invariably grant the Court the authority to vary for an alien yet bar similar such

 consideration for an equally culpable defendant, who happens to be a U.S. citizen,

 and not subject to deportation. In essence, it would reward an alien while punishing

 a United States citizen for committing the exact same offense. This is universally

                                           19


                                       Appx298
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.755 Filed 09/05/19 Page 20 of 22




 unfair and would likewise run afoul of 18 U.S.C. Section 3553(a)(6) which mandates

 that the Court’s sentence should “… avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct.”

       Here, Thakkallapally sought to abuse the student visa program so that he could

 remain and work in the United States illegally. While illegally present in the United

 States he chose to line his own pockets when he proposed illegally making money

 by managing, harboring and recruiting other foreign students to do the same. In

 return for his recruitment efforts, he received more than $15,000 in profit. Such

 calculated criminal acts do not warrant a downward variance.

       Therefore, this factor favors a sentence within the guidelines. However, the

 Court should also be mindful of the five other recruiters charged in this case, along

 with the two recruiters charged in related cases, 19-cr-20024 and 19-cr-20025.

 Naveen Prathipati, who recruited less than twenty students, received a sentence of

 12 months and a day, Bharath Kakireddy and Suresh Kandala, received a sentence

 of 18 months. Thakkallapally, like Kandala, helped enlist hundreds of foreign

 citizens to enroll at the University with the goal of fraudulently maintaining their

 status in the United States.




                                          20


                                      Appx299
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.756 Filed 09/05/19 Page 21 of 22




III.   CONCLUSION

       For the reasons stated above, the government recommends this Court

 sentence Thakkallapally within the sentencing guideline range.


                                          Respectfully submitted,

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                                         21


                                     Appx300
Case 2:19-cr-20026-GAD-EAS ECF No. 111, PageID.757 Filed 09/05/19 Page 22 of 22




                           CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2019, I electronically filed the

 foregoing paper with the Clerk of the Court using the ECF system, which will

 provide notification to all counsel of record.




                                                  /s/Timothy P. McDonald
                                                  Timothy P. McDonald
                                                  Assistant United States Attorney




                                           22


                                       Appx301
Case 2:19-cr-20026-GAD-EAS ECF No. 111-1, PageID.758 Filed 09/05/19 Page 1 of 5




                                  Appx302
Case 2:19-cr-20026-GAD-EAS ECF No. 111-1, PageID.759 Filed 09/05/19 Page 2 of 5




                                  Appx303
Case 2:19-cr-20026-GAD-EAS ECF No. 111-1, PageID.760 Filed 09/05/19 Page 3 of 5




                                  Appx304
Case 2:19-cr-20026-GAD-EAS ECF No. 111-1, PageID.761 Filed 09/05/19 Page 4 of 5




                                  Appx305
Case 2:19-cr-20026-GAD-EAS ECF No. 111-1, PageID.762 Filed 09/05/19 Page 5 of 5




                                  Appx306
